            Case 2:19-cv-00434 Document 38-24 Filed 03/15/21 Page 1 of 9 PageID #: 350
                                                                RESEARCH AND PRACTICE 



Risk Factors for Femicide in Abusive Relationships:
Results From a Multisite Case Control Study
| Jacquelyn C. Campbell, PhD, RN, Daniel Webster, ScD, MPH, Jane Koziol-McLain, PhD, RN, Carolyn Block, PhD, Doris Campbell, PhD, RN, Mary Ann
 Curry, PhD, RN, Faye Gary, PhD, RN, Nancy Glass, PhD, MPH, RN, Judith McFarlane, PhD, RN, Carolyn Sachs, MD, MPH, Phyllis Sharps, PhD, RN,
 Yvonne Ulrich, PhD, RN, Susan A. Wilt, DrPH, Jennifer Manganello, PhD, MPH, Xiao Xu, PhD, RN, Janet Schollenberger, MHS, Victoria Frye, MPH,
 and Kathryn Laughon, MPH



Femicide, the homicide of women, is the lead-
                                                                  Objectives. This 11-city study sought to identify risk factors for femicide in abusive
ing cause of death in the United States among
                                                               relationships.
young African American women aged 15 to                           Methods. Proxies of 220 intimate partner femicide victims identified from police or
45 years and the seventh leading cause of                      medical examiner records were interviewed, along with 343 abused control women.
premature death among women overall.1                             Results. Preincident risk factors associated in multivariate analyses with increased
American women are killed by intimate part-                    risk of intimate partner femicide included perpetrator’s access to a gun and previous
ners (husbands, lovers, ex-husbands, or ex-                    threat with a weapon, perpetrator’s stepchild in the home, and estrangement, espe-
lovers) more often than by any other type of                   cially from a controlling partner. Never living together and prior domestic violence ar-
perpetrator.2–4 Intimate partner homicide ac-                  rest were associated with lowered risks. Significant incident factors included the vic-
counts for approximately 40% to 50% of US                      tim having left for another partner and the perpetrator’s use of a gun. Other significant
femicides but a relatively small proportion of                 bivariate-level risks included stalking, forced sex, and abuse during pregnancy.
                                                                  Conclusions. There are identifiable risk factors for intimate partner femicides. (Am J
male homicides (5.9%).1,5–10 The percentage
                                                               Public Health. 2003;93:1089–1097)
of intimate partner homicides involving male
victims decreased between 1976 and 1996,
whereas the percentage of female victims in-             Femicide Cases                                       cide cases abstracted, a knowledgeable proxy
creased, from 54% to 72%.4                                  All consecutive femicide police or med-           was identified and located. In 82% (307/
   The majority (67%–80%) of intimate part-              ical examiner records from 1994 through              373) of these cases, proxies agreed to partici-
ner homicides involve physical abuse of the              2000 at each site were examined to assess            pate. Two exclusion criteria, age (18–50
female by the male before the murder, no                 victim–perpetrator relationships. Cases were         years) and no previous abuse by the femicide
matter which partner is killed.1,2,6,11–13 There-        eligible if the perpetrator was a current or         perpetrator, resulted in the elimination of 87
fore, one of the major ways to decrease inti-            former intimate partner and the case was             additional cases (28.3% of 307 cases), with
mate partner homicide is to identify and in-             designated as “closed” by the police (suicide        59 (19.2% of 307 cases) eliminated solely as
tervene with battered women at risk. The                 by the perpetrator, arrest, or adjudication,         a result of the latter criterion.
objective of this study was to specify the risk          depending on the jurisdiction). Records were            Researchers and doctoral students experi-
factors for intimate partner femicide among              abstracted for data specific to the homicide.        enced in working with victims of domestic vi-
women in violent relationships with the aim                 At least 2 potential proxy informants, indi-      olence conducted telephone or in-person in-
of preventing this form of mortality.                    viduals knowledgeable about the victim’s re-         terviews in English or Spanish; interviews
                                                         lationship with the perpetrator, were identi-        were 60 to 90 minutes in duration. Both
METHODS                                                  fied from the records. The proxy who, in the         proxies and abused control women were ex-
                                                         investigator’s judgment, was the most knowl-         cluded if they could speak neither English
   An 11-city case–control design was used;              edgeable source was then sent a letter ex-           nor Spanish.
femicide victims were cases (n = 220), and               plaining the study and including researcher
randomly identified abused women residing                contact information. If no communication was         Abused Control Women
in the same metropolitan area were control               initiated by the proxy, study personnel at-             Stratified random-digit dialing (up to 6 at-
women (n = 343). Co-investigators at each site           tempted telephone or (in the few cases in            tempts per number) was used to select
collaborated with domestic violence advo-                which no telephone contact was possible) per-        women aged 18 to 50 years who had been
cacy, law enforcement, and medical examiner              sonal contact.                                       involved “romantically or sexually” in a rela-
offices in implementing the study. Sampling                 If the first proxy was not knowledgeable          tionship at some time in the past 2 years in
quotas for cases and control women in each               about details of the relationship, she or he         the same cities in which the femicides oc-
city were proportionately calculated so that             was asked to identify another willing potential      curred. A woman was considered “abused” if
the cities with the highest annual femicide              proxy informant. When a knowledgeable                she had been physically assaulted or threat-
rates included the largest number of cases               proxy was found, informed consent was ob-            ened with a weapon by a current or former
and control women.                                       tained. In 373 of the 545 (68%) total femi-          intimate partner during the past 2 years; we



July 2003, Vol 93, No. 7 | American Journal of Public Health                                      Campbell et al. | Peer Reviewed | Research and Practice | 1089


                                                                                                                      Thomas Decl., Ex. 6
           Case 2:19-cv-00434 Document 38-24 Filed 03/15/21 Page 2 of 9 PageID #: 351
                                                          RESEARCH AND PRACTICE 


identified episodes of abuse with a modified          cide risk were dropped from subsequent             sive partner’s biological child more than dou-
version of the Conflict Tactics Scale with            models. Model coefficients were exponenti-         bled the risk of femicide (adjusted OR = 2.23;
stalking items added.11,14                            ated so that they could be interpreted as ad-      95% CI = 1.13, 4.39). Addition of the rela-
   English- and Spanish-speaking telephone            justed odds ratios (ORs).                          tionship variables resulted in victims’ sole ac-
interviewers employed by an experienced                                                                  cess to a firearm no longer being statistically
telephone survey firm completed sensitivity           RESULTS                                            significant and substantially reduced the ef-
and safety protocol training.15 A total of 4746                                                          fects of abuser’s drug use.
women met the age and relationship criteria              Demographic, background, and relation-             Variables related to abusive partners’ con-
and were read the consent statement. Among            ship variables that differentiated case women      trolling behaviors and verbal aggression were
these women, 3637 (76.6%) agreed to partic-           from control women in bivariate analyses are       added in model 4. The effects of a highly
ipate, 356 (9.8%) of whom had been physi-             presented in Tables 1 and 2. Table 3 displays      controlling abuser were modified by whether
cally abused or threatened with a weapon by           findings from the series of logistic regression    the abuser and victim separated after living
a current or recent intimate partner. Thirteen        models. The strongest sociodemographic risk        together. The risk of intimate partner femi-
abused control women were excluded from               factor (model 1) for intimate partner femicide     cide was increased 9-fold by the combination
the analysis because they reported that the           was the abuser’s lack of employment (ad-           of a highly controlling abuser and the cou-
injuries from their most severe incident of           justed OR = 5.09; 95% confidence interval          ple’s separation after living together (adjusted
abuse were so severe that they thought they           [CI] = 2.74, 9.45). Instances in which the         OR = 8.98; 95% CI = 3.25, 24.83). Femicide
could have died.                                      abuser had a college education (vs a high          risk was increased to a lesser degree when
                                                      school education) were protective against          the abuser was highly controlling but the cou-
Risk Factor Survey Instrument
                                                      femicide (adjusted OR = 0.31; 95% CI = 0.12,       ple had not separated (adjusted OR = 2.90;
   The interview included previously tested
                                                      0.80), as were instances in which the abuser       95% CI = 1.41, 5.97) and when the couple
instruments, such as the Danger Assess-
                                                      had a college degree and was unemployed            had separated after living together but the
ment,16,17 and gathered information on demo-
                                                      but looking for work. Race/ethnicity of            abuser was not highly controlling (adjusted
graphic and relationship characteristics, in-
                                                      abusers and victims was not independently          OR = 3.10; 95% CI = 1.20, 8.05).
cluding type, frequency, and severity of
                                                      associated with intimate partner femicide risk        Threatening behaviors and stalking were
violence, psychological abuse, and harass-
                                                      after control for other demographic factors.       added in model 5. Abusers’ previous threats
ment; alcohol and drug use; and weapon
                                                         When additional individual-level risk fac-      with a weapon (adjusted OR = 4.08; 95%
availability. The Danger Assessment had
                                                      tors for homicide were added to the model          CI = 1.91, 8.72) and threats to kill (adjusted
been translated to and validated in Spanish in
                                                      (model 2), both abuser’s access to a firearm       OR = 2.60; 95% CI = 1.24, 5.42) were associ-
earlier research; the remainder of the survey
                                                      (adjusted OR = 7.59; 95% CI = 3.85, 14.99)         ated with substantially higher risks for femi-
was translated and back-translated by our
                                                      and abuser’s use of illicit drugs (adjusted        cide. After control for threatening behaviors,
Spanish-speaking interviewers and by project
                                                      OR = 4.76; 95% CI = 2.19, 10.34) were              there were no significant independent effects
staff in Houston, Los Angeles, and New York.
                                                      strongly associated with intimate partner          of abusers’ drug use (OR = 1.64; 95% CI =
A factor analysis of the risk items was used in
                                                      femicide, although the abuser’s excessive use      0.88, 3.04). The effects of high control with
constructing scales measuring partners’ con-
                                                      of alcohol was not. Although the abuser’s ac-      separation (adjusted OR = 4.07; 95% CI =
trolling and stalking behaviors. Each scale
                                                      cess to a firearm increased femicide risk, vic-    1.33, 12.4) and access to guns (adjusted
was internally consistent (α = .83 and .75,
                                                      tims’ risk of being killed by their intimate       OR = 5.44; 95% CI = 2.89, 10.22), although
respectively).
                                                      partner was lower when they lived apart from       substantially reduced, remained strong.
Data Analysis                                         the abuser and had sole access to a firearm           Stalking and threats to harm children and
   Logistic regression was used to estimate           (adjusted OR = 0.22). Neither alcohol abuse        other family members were not indepen-
the independent associations between each             nor drug use by the victim was independently       dently associated with intimate partner femi-
of the hypothesized risk factors and the risk         associated with her risk of being killed.          cide risk after variables had been entered in
of intimate partner femicide. Because the im-            Relationship variables were added in            the first models. When variables related to
portance of certain risk factors may not be           model 3. Never having lived with the abusive       previous physical abuse were included in
detected when their effects are mediated by           partner significantly lowered women’s risk of      model 6, previous arrest of the abuser for do-
more proximal risk factors, we sequentially           femicide (OR = 0.39; 95% CI = 0.16, 0.97).         mestic violence was associated with a de-
added blocks of conceptually similar explana-         Having been separated from an abusive part-        creased risk of intimate partner femicide (ad-
tory variables along a risk factor continuum          ner after living together was associated with a    justed OR = 0.34; 95% CI = 0.16, 0.73). The
ranging from most distal (demographic char-           higher risk of femicide (adjusted OR = 3.64;       association between abusers’ use of forced
acteristics of perpetrators and victims) to           95% CI = 1.71, 7.78), as was having ever left      sex on victims and increased intimate partner
most proximal (e.g., weapon used in the femi-         or having asked the partner to leave (adjusted     femicide risks approached statistical signifi-
cide or most serious abuse incident). Vari-           OR = 3.19; 95% CI = 1.70, 6.02). Having a          cance (adjusted OR = 1.87; 95% CI = 0.97,
ables not significantly associated with femi-         child living in the home who was not the abu-      3.63; P < .07).



1090 | Research and Practice | Peer Reviewed | Campbell et al.                                    American Journal of Public Health | July 2003, Vol 93, No. 7


                                                                                                                  Thomas Decl., Ex. 6
               Case 2:19-cv-00434 Document 38-24 Filed 03/15/21 Page 3 of 9 PageID #: 352
                                                                          RESEARCH AND PRACTICE 


                                                                                                                                             Incident-level variables were added in
    TABLE 1—Sociodemographic Characteristics of Victims and Perpetrators and General Risk                                                 model 7. Abuser’s use of a gun in the worst
    Factors for Homicide, by Group
                                                                                                                                          incident of abuse was associated with a 41-
                                                         Victims                                       Perpetrators                       fold increase in risk of femicide after control
                                          Nonfatal                                     Nonfatal                                           for other risk factors, this effect apparently
                                       Physical Abuse       Homicide                Physical Abuse          Homicide                      mediating the effects of abuser’s access to a
                                         (n = 343)          (n = 220)       P         (n = 343)             (n = 220)         P           gun, which was no longer significant. How-
                                                                                                                                          ever, previous threats with a weapon contin-
                                                     Sociodemographic variables
                                                                                                                                          ued to be associated with increased femicide
    Age, y, mean ± SD                    30.1 ± 8.6         31.4 ± 7.7     .081           31.2 ± 9.2        34.2 ± 8.7      <.001
                                                                                                                                          risks (OR = 4.41; 95% CI = 1.76, 11.06).
       Don’t know/refused/missing         0                  0                             4                22
                                                                                                                                             When the worst incident of abuse was
    Race/ethnicity, No. (%)                                               <.001                                             <.001
                                                                                                                                          triggered by the victim’s having left the
       Black/African American            70 (20.6)         104 (47.3)                     83 (24.3)        107 (48.9)
                                                                                                                                          abuser for another partner or by the abuser’s
       White                           157 (46.3)           53 (24.1)                    153 (44.7)         49 (22.4)
                                                                                                                                          jealousy, there was a nearly 5-fold increase
       Latino/Hispanic                   82 (24.2)          53 (24.1)                     80 (23.4)         58 (26.5)
                                                                                                                                          in femicide risk (adjusted OR = 4.91; 95%
       Other                             30 (8.9)           10 (4.5)                      26 (7.6)            5 (2.3)
                                                                                                                                          CI = 2.42, 9.96). When the incident was trig-
       Don’t know/refused/missing         4                  0                             1                  1
                                                                                                                                          gered by the victim’s having left the abuser
    Education, No. (%)                                                    <.001                                             <.001
                                                                                                                                          for any other reason, femicide risks were
       Less than high school             61 (17.9)          71 (33.2)                     92 (28.0)         70 (48.9)
                                                                                                                                          also significantly increased (adjusted OR =
       High school                       73 (21.5)          59 (27.5)                     91 (27.7)         47 (32.9)
                                                                                                                                          4.04; 95% CI = 1.80, 9.06). These incident-
       Some college/trade school       109 (32.1)           68 (31.8)                     58 (17.7)         17 (11.9)
                                                                                                                                          level effects appear to mediate those related
       College/trade school              97 (28.5)          16 (7.5)                      87 (26.5)           9 (6.3)
                                                                                                                                          to highly controlling abusers and separation
       Don’t know/refused/missing         3                  6                            15                77
                                                                                                                                          after cohabitation.
    Employment, No. (%)                                                   <.001                                             <.001
                                                                                                                                             Each of the models included in Table 3
       Full-time                       179 (52.2)          114 (51.8)                    229 (68.2)         84 (39.6)
                                                                                                                                          demonstrated an adequate fit according to
       Part-time                         70 (20.4)          31 (14.1)                     39 (11.6)         20 (9.5)                      Hosmer–Lemeshow18 goodness-of-fit tests.
       Unemployed, seeking job           40 (11.7)          12 (5.5)                      25 (7.4)          13 (6.1)                      Model 6 correctly predicted the case status of
       Unemployed, not seeking job       54 (15.7)          63 (28.6)                     43 (12.8)         95 (44.8)                     73% of the cases and 93% of the control
       Don’t know/refused/missing         0                  0                             7                  8                           women. Model 7 correctly predicted the case
    Income (annual household), $,                                          .005                                                           status of 81% of the cases and 95% of the
         No. (%)                                                                                                                          control women.
       Less than 10 000                  67 (21.7)          25 (18.8)
       10 000–19 999                     49 (15.9)          32 (24.1)                                                                     DISCUSSION
       20 000–29 999                     43 (13.9)          20 (15.0)
       30 000–39 999                     41 (13.3)          29 (21.8)                                                                        Seventy-nine percent (220/279) of the
       40 000 or more                  109 (35.3)           27 (20.3)                                                                     femicide victims aged 18 to 50 years and
       Don’t know/refused/missing        34                 87                                                                            70% of the 307 total femicide cases were
                                              General violence/homicide risk variables                                                    physically abused before their deaths by the
    Threatened/attempted suicide                                           .091                                              .149         same intimate partner who killed them, in
       Yes                               33 (9.6)           12 (5.6)                      68 (20.1)         45 (25.0)                     comparison with 10% of the pool of eligible
       Don’t know/refused/missing         0                  6                             4                40                            control women. Thus, our first premise, that
    Problem alcohol drinker, No. (%)                                      < .001                                            < .001        physical violence against the victim is the pri-
       Yes                               27 (7.9)           36 (19.1)                    106 (30.9)        105 (52.0)                     mary risk factor for intimate partner femicide,
       Don’t know/refused/missing         0                 32                             0                18                            was upheld. The purpose of this study, how-
    Illicit drug use, No. (%)                                              .002                                             < .001        ever, was to determine the risk factors that,
       Yes                               49 (14.3)          48 (25.3)                    101 (30.4)        123 (65.4)                     over and above previous intimate partner vio-
       Don’t know/refused/missing         1                 30                            11                32                            lence, are associated with femicide within a
    Access to a firearm,a No. (%)                                          .996                                             <.001         sample of battered women. Our analysis
       Yes                               17 (5.0)           10 (5.0)                      82 (23.9)        143(65.0)                      demonstrated that a combination of the most
       Don’t know/refused/missing         2                 19                             0                  0                           commonly identified risk factors for homicide,
                                                                                                                                          in conjunction with characteristics specific to
                                                                                                                         Continued
                                                                                                                                          violent intimate relationships, predicted inti-
                                                                                                                                          mate partner femicide risks.



July 2003, Vol 93, No. 7 | American Journal of Public Health                                                                  Campbell et al. | Peer Reviewed | Research and Practice | 1091


                                                                                                                                                  Thomas Decl., Ex. 6
              Case 2:19-cv-00434 Document 38-24 Filed 03/15/21 Page 4 of 9 PageID #: 353
                                                                          RESEARCH AND PRACTICE 


                                                                                                                                        responses include adequate and swift adjudi-
    TABLE 1—Continued
                                                                                                                                        cation, close supervision of parole outcomes
    Arrest for violent crime, No. (%)                                                                                    <.001          through periodic court reviews or specialized
       Yes                                                                              38 (11.5)        43 (21.8)                      probation programs, ongoing risk manage-
       Don’t know/refused/missing                                                       12               23
                                                                                                                                        ment for arrested perpetrators and ongoing
                                                                                                                                        safety planning for victims, and close super-
    Note. The referent time periods for all risk variables were the year previous to the most abusive event for abused control          vision involving sanctions for batterers who
    women and the year previous to the femicide for femicide victims.
    a                                                                                                                                   drop out of mandated intervention pro-
     For abused women, gun access was defined as a woman’s sole access to a firearm on the basis of her living apart from her
    partner and reporting having a gun in the home; gun access for partner was based on reports of his personal ownership of a          grams.26 Under these kinds of conditions,
    firearm or living in a household with a firearm.                                                                                    arrest can indeed be protective against do-
                                                                                                                                        mestic violence escalating to lethality.
                                                                                                                                           Two relationship variables remained signif-
   The model-building strategy we used al-                          mate partner femicide, but only before the ef-                      icant throughout the models. Consistent with
lowed for consideration of different levels of                      fects of previous threats and abuse were                            earlier research,27,28 instances in which a
prevention and the degree to which intimate                         added. Drug abuse, therefore, was associated                        child of the victim by a previous partner was
partner femicides could be prevented by strat-                      with patterns of intimate partner abuse that                        living in the home increased the risk of inti-
egies directed at risk factors for homicide in                      increase femicide risks.                                            mate partner femicide. Situations in which
general. For example, our analysis and those                            Our iterative model-building strategy also                      the victim and abuser had never lived to-
of others suggest that increasing employment                        allowed us to observe whether the effects of                        gether were protective, validating safety ad-
opportunities, preventing substance abuse,                          more proximate risk factors mediate the ef-                         vice that battered women have offered to
and restricting abusers’ access to guns can po-                     fects of more distal factors in a manner con-                       other battered women in interview studies.29
tentially reduce both overall rates of homicide                     sistent with theory. For example, the 8-fold in-                    Women who separated from their abusive
and rates of intimate partner femicide.                             crease in intimate partner femicide risk                            partners after cohabitation experienced in-
   In comparing our femicide perpetrators                           associated with abusers’ access to firearms at-                     creased risk of femicide, particularly when
with other abusive men, we found that unem-                         tenuated to a 5-fold increase when character-                       the abuser was highly controlling. Other stud-
ployment was the most important demo-                               istics of the abuse were considered, including                      ies have revealed the same risks posed by es-
graphic risk factor for acts of intimate partner                    previous threats with a weapon on the part of                       trangement,30,31 but ours further explicates
femicide. In fact, abuser’s lack of employment                      the abuser. This suggests that abusers who                          the findings by identifying highly controlling
was the only demographic risk factor that sig-                      possess guns tend to inflict the most severe                        male partners as presenting the most danger
nificantly predicted femicide risks after we                        abuse.                                                              in this situation. At the incident level, we
controlled for a comprehensive list of more                             However, consistent with other re-                              found that batterers were significantly more
proximate risk factors, increasing risks 4-fold                     search,3,23,15,24,25 gun availability still had sub-                likely to perpetrate homicide if their partner
relative to the case of employed abusers                            stantial independent effects that increased                         was leaving them for a different partner.
(model 6). Unemployment appears to under-                           homicide risks. As expected, these effects                             The bivariate analysis supported earlier ev-
lie increased risks often attributed to race/                       were due to gun-owning abusers’ much                                idence that certain characteristics of intimate
ethnicity, as has been found and reported in                        greater likelihood of using a gun in the worst                      partner violence are associated with intimate
other analyses related to violence.19,20                            incident of abuse, in some cases, the actual                        partner femicide, including stalking, strangula-
   The present results revealed that traits of                      femicide. The substantial increase in lethality                     tion, forced sex, abuse during pregnancy, a
perpetrators thought to be characteristic of vi-                    associated with using a firearm was consistent                      pattern of escalating severity and frequency
olent criminals in general21 tended to be no                        with the findings of other research assessing                       of physical violence, perpetrator suicidality,
more characteristic of femicide perpetrators                        weapon lethality. A victim’s access to a gun                        perception of danger on the part of the vic-
than of other batterers. For instance, in con-                      could plausibly reduce her risk of being                            tim, and child abuse.15,16,20,32–37 However,
trast to results of previous research compar-                       killed, at least if she does not live with the                      these risk factors, with the exception of forced
ing abusers and nonabusers,22 our regression                        abuser. A small percentage (5%) of both case                        sex, were not associated with intimate partner
analyses showed that arrests for other crimes                       and control women lived apart from the                              femicide risk in the multivariate analysis.
did not differentiate femicide perpetrators                         abuser and owned a gun, however, and there                          Many of these characteristics of abuse are as-
from perpetrators of intimate partner vio-                          was no clear evidence of protective effects.                        sociated with previous threats with a weapon
lence. After controlling for other risk factors,                        Previous arrests for domestic violence was                      and previous threats to kill the victim, factors
prior arrest for domestic violence actually de-                     protective against intimate partner femicide                        that more closely predict intimate partner
creased the risk for femicide, suggesting that                      in both of the final models. In most of the                         femicide risks.
arrest of abusers protects against future inti-                     cities where data were collected, there is a                           This investigation is one of the few studies
mate partner femicide risks. Perpetrator drug                       coordinated community response to domes-                            of intimate partner femicide to include a
abuse significantly increased the risk of inti-                     tic violence. Under optimal conditions, such                        control population and, to our knowledge,



1092 | Research and Practice | Peer Reviewed | Campbell et al.                                                                   American Journal of Public Health | July 2003, Vol 93, No. 7


                                                                                                                                                 Thomas Decl., Ex. 6
               Case 2:19-cv-00434 Document 38-24 Filed 03/15/21 Page 5 of 9 PageID #: 354
                                                                              RESEARCH AND PRACTICE 


    TABLE 2—Relationship Dynamics, Threatening Behavior, and Abuse Characteristics                                              the first to examine the connection between
                                                                                                                                relationship variables and specific demo-
                                                                          Abused Control    Homicide Victims                    graphic characteristics of victims and perpe-
                                                                         Women (n = 343)       (n = 220)            P
                                                                                                                                trators. Perhaps the most important limita-
                                                           Relationship variables                                               tion of the study is its necessary reliance on
    Age difference, y, mean ± SD                                              1.1 ± 5.7         2.9 ± 6.4          .001         proxy respondents for data regarding hy-
    Length of relationship, No. (%)                                                                                .023         pothesized risk factors for intimate partner
       1 month or less                                                        5 (1.5)           0                               femicide cases. Because we obtained data
       1 month to 1 year                                                    94 (27.5)          44 (20.0)                        from control women directly, rather than
       1 or more years                                                     243 (71.0)         176 (80.0)                        from a proxy, observed differences between
       Don’t know/refused/missing                                             1                 0                               case and control women may have been
    Relationship partner, No. (%)                                                                                  .005         wholly or partly attributable to differences in
       Husband                                                             101 (29.7)          85 (39.0)                        accuracy of reporting between victims and
       Boyfriend                                                            86 (25.3)          65 (29.8)                        their proxies. To examine this issue, we con-
       Ex-husband                                                           36 (10.6)          20 (9.2)                         ducted a small pilot study comparing re-
       Ex-boyfriend                                                        117 (34.4)          48 (22.0)                        sponses of victims of attempted femicide and
       Don’t know/refused/missing                                             3                 2                               responses of their proxy respondents and
    Separated, No. (%)                                                                                            <.001         found good agreement between summed
       Yes                                                                 117 (34.9)         101 (55.2)                        Danger Assessment scores from the 2
       Don’t know/refused/missing                                             8                37                               sources of information. Furthermore, there
    Cohabitation, No. (%)                                                                                         <.001         was no clear tendency for proxies to under-
       Yes                                                                 174 (50.7)          81 (45.0)                        report or overreport victims’ exposure to
       In the past year, but not currently                                  39 (11.4)          68 (37.8)                        specific risk factors relative to the self-
       Previously, but not in the past year                                 11 (3.2)           11 (6.1)                         reports of victims themselves.35
       Never                                                               118 (34.7)          20 (11.1)                           It is also possible that some of the women
       Don’t know/refused/missing                                             1                40                               who were excluded from this analysis be-
    Biological child(ren) of victim and partner living in the                                                                   cause of no record of previous physical vio-
         household, No. (%)                                                                                        .034         lence were in fact being abused, unknown to
       Yes                                                                  98 (28.6)          73 (37.4)                        the proxy. However, we found fairly good
       Don’t know/refused/missing                                             0                25                               correspondence with police records of previ-
    Biological child(ren) of victim, and not of partner, living
                                                                                                                                ous domestic violence, and, if anything, we
         in the household, No. (%)                                                                                <.001
                                                                                                                                found more knowledge of previous physical
                                                                                                                                abuse among proxies than among police. A
       Yes                                                                  60 (17.5)          82 (38.7)
                                                                                                                                related limitation is the relatively large pro-
       Don’t know/refused/missing                                             0                 8
                                                                                                                                portion of “don’t know” responses from prox-
                                                       Relationship abuse dynamics
                                                                                                                                ies regarding certain hypothesized risk fac-
    Partner controlling behaviors (score > 3), No. (%)                                                            <.001
                                                                                                                                tors of a more personal nature (e.g., forced
       Yes                                                                  84 (24.5)         145 (65.9)
                                                                                                                                sex). Our decision to treat these “don’t know”
    Partner called victim names to put her down, No. (%)                                                          <.001
                                                                                                                                responses as representing absence of the “ex-
       Yes                                                                 164 (47.8)         151 (77.8)
                                                                                                                                posure” produced conservative biases in our
       Don’t know/refused/missing                                             0                26
                                                                                                                                estimates of relationships with intimate part-
                                                 General violence/homicide risk variables
                                                                                                                                ner femicide risks. Therefore, we may have
    Partner violent outside home, No. (%)                                                                         <.001
                                                                                                                                inappropriately failed to reject the null hy-
       Yes                                                                 116 (35.5)         102 (55.7)
                                                                                                                                pothesis in the case of some of these vari-
       Don’t know/refused/missing                                           16                 37
                                                                                                                                ables with large amounts of missing data and
    Partner threatened to kill woman, No. (%)                                                                     <.001
                                                                                                                                near-significant associations with intimate
       Yes                                                                  50 (14.6)         142 (73.6)
                                                                                                                                partner femicide risk.
       Don’t know/refused/missing                                             1                27
                                                                                                                                   Another limitation was that we excluded
    Partner threatened to kill family, No. (%)                                                                    <.001
                                                                                                                                women who did not reside in large urban
       Yes                                                                  26 (7.6)           72 (33.8)
                                                                                                                                areas (other than Wichita, Kan) and control
       Don’t know/refused/missing                                             0                 7
                                                                                                                                group women who did not have telephones.
                                                                                                               Continued        We also failed to keep records of exactly
                                                                                                                                which proxy interviews (estimated to be less



July 2003, Vol 93, No. 7 | American Journal of Public Health                                                        Campbell et al. | Peer Reviewed | Research and Practice | 1093


                                                                                                                                        Thomas Decl., Ex. 6
              Case 2:19-cv-00434 Document 38-24 Filed 03/15/21 Page 6 of 9 PageID #: 355
                                                                            RESEARCH AND PRACTICE 


    TABLE 2—Continued                                                                                                                        than 10% of the total) were conducted in
                                                                                                                                             person rather than by telephone, and thus
    Partner threatened woman with a weapon, No. (%)                                                                         <.001            we cannot evaluate the effects of this source
       Yes                                                                16 (4.7)                  110 (55.3)                               of bias. Finally, we have no way to compare
       Don’t know/refused/missing                                           0                        21                                      the control women who participated with
    Partner threatened to harm children, No. (%)                                                                            <.001            those who did not, and women living in the
       Yes                                                                  4 (1.2)                  36 (18.5)                               most dangerous situations may have been
       Don’t know/refused/missing                                           7                        25                                      less likely to participate as control women. If
    Stalking behavior (score > 3), No. (%)                                                                                  <.001            so, true exposure to the risk factors of inter-
       Yes                                                                21 (6.1)                   47 (21.4)                               est among women involved in abusive inti-
       Don’t know/refused/missing                                           0                          0                                     mate relationships may be greater than our
                                                 Characteristics of physical violence                                                        control data suggest, thus inflating our esti-
    Increase in frequency, No. (%)                                                                                          <.001            mates of increased risks associated with
       Yes                                                                88 (25.7)                 109 (59.9)                               these exposures.
       Don’t know/refused/missing                                           5                        38
    Increase in severity, No. (%)                                                                                           <.001            CONCLUSIONS
       Yes                                                                70 (20.4)                 105 (64.4)
       Don’t know/refused/missing                                           5                        57                                         In light of our findings, it is important to
    Partner tried to choke (strangle) woman, No. (%)                                                                        <.001            consider the role medical professionals might
       Yes                                                                34 (9.9)                   84 (56.4)                               play in identifying women at high risk of inti-
       Don’t know/refused/missing                                           1                        71                                      mate partner femicide. The variables that re-
    Forced sex, No. (%)                                                                                                     <.001            mained significant in model 6 are those most
       Yes                                                                51 (14.9)                  84 (57.1)                               important for identifying abused women at
       Don’t know/refused/missing                                           1                        73                                      risk for femicide in the health care system
    Abused during pregnancy (ever), No. (%)                                                                                 <.001
                                                                                                                                             and elsewhere, whereas those that were sig-
                                                                                                                                             nificant in model 7 are particularly important
       Yes                                                                24 (7.0)                   49 (25.8)
                                                                                                                                             in prevention of the lethal incident itself.
       No or never been pregnant                                         319 (93.0)                 141 (74.2)
                                                                                                                                             When women are identified as abused in
       Don’t know/refused/missing                                           0                        30
                                                                                                                                             medical settings, it is important to assess per-
    Partner arrest previously for domestic violence, No. (%)                                                                  .003
                                                                                                                                             petrators’ access to guns and to warn women
       Yes                                                                46 (13.9)                  50 (25.6%)
                                                                                                                                             of the risk guns present. This is especially
       Don’t know/refused/missing                                         12                         25
                                                                                                                                             true in the case of women who have been
                                                       Incident-level variables
                                                                                                                                             threatened with a gun or another weapon
    Gun used, No. (%)                                                                                                       <.001
                                                                                                                                             and in conditions of estrangement. Under fed-
       Yes                                                                  3 (0.9)                  84 (38.2)
                                                                                                                                             eral law, individuals who have been con-
    Partner used alcohol or drugs, No. (%)                                                                                  <.001
                                                                                                                                             victed of domestic violence or who are sub-
       Yes                                                               123 (34.6)                 133 (60.5)
                                                                                                                                             ject to a restraining order are barred from
    Victim used alcohol or drugs, No. (%)                                                                                   <.001
                                                                                                                                             owning firearms. Judges issuing orders of pro-
       Yes                                                                44 (12.4)                  53 (24.1)
                                                                                                                                             tection in cases of intimate partner violence
    Order of protection, No. (%)                                                                                            <.001
                                                                                                                                             should consider the heightened risk of lethal
       Yes                                                                16 (4.7)                   54 (24.5)
                                                                                                                                             violence associated with abusers’ access to
    Trigger: jealousy, No. (%)                                                                                              <.001
                                                                                                                                             firearms.
       Yes                                                                52 (17.1)                  85 (38.6)
                                                                                                                                                Often, battered women like the idea of a
       No or don’t know                                                  291 (82.9)                 135 (61.4)
                                                                                                                                             health care professional notifying the police
    Trigger: woman leaving, No. (%)                                                                                         <.001
                                                                                                                                             for them; however, with the exception of Cal-
       Yes                                                                32 (10.5)                  72 (32.7)                               ifornia, states do not require health care pro-
       No or don’t know                                                  311 (89.5)                 148 (67.3)                               fessionals to report to the criminal justice sys-
    Trigger: woman has new relationship, No. (%)                                                                            <.001            tem unless there is evidence of a felony
       Yes                                                                  7 (2.0)                  26 (11.8)                               assault or an injury from an assault.38–40 In
       No or don’t know                                                  336 (98.0)                 194 (88.2)                               states other than California, the professional
    Note. Unless otherwise noted, the referent time periods for risk variables were the year previous to the most abusive event for          can offer to call the police, but the woman
    abused control women and the year previous to the femicide for femicide victims.                                                         should have the final say, in that she can
                                                                                                                                             best assess any increased danger that might



1094 | Research and Practice | Peer Reviewed | Campbell et al.                                                                        American Journal of Public Health | July 2003, Vol 93, No. 7


                                                                                                                                                      Thomas Decl., Ex. 6
              Case 2:19-cv-00434 Document 38-24 Filed 03/15/21 Page 7 of 9 PageID #: 356
                                                                      RESEARCH AND PRACTICE 


    TABLE 3—Hypothesized Risk Factors for Intimate Partner Femicide Among Women Involved                                   result from the police being notified. An ex-
    in a Physically Abusive Intimate Relationship Within the Past 2 Years: Adjusted Odds Ratios                            cellent resource for referral, shelter, and in-
                                                                                                                           formation is the National Domestic Violence
                                              Model 1   Model 2   Model 3   Model 4   Model 5   Model 6    Model 7
                                                                                                                           Hotline (1-800-799-SAFE).
    Abuser age                                1.10***   1.08***     NS                                                        If a woman confides that she is planning to
    Abuser race/ethnicity                        NS                                                                        leave her abuser, it is critical to warn her not
    Abuser education (reference group:                                                                                     to confront him personally with her decision.
         high school graduates)                                                                                            Instead, she needs to leave when he is not
       Less than high school                  1.40        NS                                                               present and leave a note or call him later. It is
       Some college                           0.72        NS                                                               also clear that extremely controlling abusers
       College                                0.31*       NS                                                               are particularly dangerous under conditions
    Abuser job status (reference group:                                                                                    of estrangement. A question such as “Does
         employed full time)                                                                                               your partner try to control all of your daily
       Employed part time                     1.61         NS       NS         NS        NS        NS        NS            activities?” (from the Danger Assessment15)
       Unemployed, seeking job                1.34         NS       NS         NS        NS        NS        NS            can quickly assess this extreme need for con-
       Unemployed, not seeking job            5.09***   6.27***   4.00***   3.24***   4.28***   4.42***    4.35*           trol. Health care professionals can also expe-
       Victim age                               NS                                                                         ditiously assess whether the perpetrator is un-
       Victim race/ethnicity                    NS                                                                         employed, whether stepchildren are present
    Victim education (reference group:                                                                                     in the home, and whether the perpetrator has
         high school graduates)                                                                                            threatened to kill the victim. Under these con-
       Less than high school                  1.61         NS       NS        NS                                           ditions of extreme danger, it is incumbent on
       Some college                           0.87         NS       NS        NS                                           health care professionals to be extremely as-
       College                                0.31**    0.15*     0.28*       NS                                           sertive with abused women about their risk of
    Victim job status (reference group:                                                                                    homicide and their need for shelter.41
         employed full time)
       Employed part time                     0.95         NS       NS
       Unemployed, seeking job                0.13***   0.25*       NS                                                     About the Authors
       Unemployed, not seeking job            0.99         NS       NS                                                     Jacquelyn C. Campbell, Phyllis Sharps, and Kathryn
                                                                                                                           Laughon are with the School of Nursing, Johns Hopkins
    General risk factors for homicide
                                                                                                                           University, Baltimore, Md. Daniel Webster, Jennifer
       Abuser problem drinker                              NS                                                              Manganello, and Janet Schollenberger are with the
       Abuser used illicit drugs                        4.76***   2.19*     1.88*       NS        NS                       Bloomberg School of Public Health, Johns Hopkins Uni-
                                                                                                                           versity. Jane Koziol-McLain is with the School of Nursing,
       Abuser mental health                                NS
                                                                                                                           Auckland University of Technology, Auckland, New
       Abuser threatened suicide                           NS                                                              Zealand. Carolyn Rebecca Block is with the Illinois Crim-
       Abuser hurt pet                                     NS                                                              inal Justice Information Authority, Chicago. Doris Camp-
                                                                                                                           bell is with the College of Medicine, University of South
       Abuser access to gun                             7.59***   9.21***   8.28***   5.44***   5.38***      NS
                                                                                                                           Florida, Tampa. Mary Ann Curry and Nancy Glass are
       Abuser arrest for violent crime                     NS                                                              with the School of Nursing, Oregon Health Sciences Uni-
       Victim problem drinker                              NS                                                              versity, Portland. Faye Gary is with the College of Nurs-
                                                                                                                           ing, University of Florida, Gainesville. Judith McFarlane
       Victim used illicit drugs                           NS
                                                                                                                           is with the School of Nursing, Texas Women’s University,
       Victim sole access to gun                        0.22*       NS        NS        NS        NS         NS            Houston. Carolyn Sachs is with the School of Medicine,
    Relationship variables                                                                                                 University of California Los Angeles. Yvonne Ulrich is
                                                                                                                           with the School of Nursing, University of Washington,
       Married                                                      NS
                                                                                                                           Seattle. Susan A. Wilt is with the New York City Depart-
       Divorced                                                     NS                                                     ment of Health. Xiao Xu is with Covance Inc, Washing-
       Time in relationship                                         NS                                                     ton, DC. Victoria A. Frye is with St. Luke’s Medical Cen-
       Cohabitation (reference: living                                                                                     ter, New York City.
                                                                                                                               Requests for reprints should be sent to Jacquelyn C.
             together during entire past                                                                                   Campbell, PhD, RN, Johns Hopkins University, School of
             year)                                                                                                         Nursing, 525 N Wolfe St, #436, Baltimore, MD 21205-
           Living together less than 1 year                         NS                                                     2110 (e-mail: jcampbell@son.jhmi.edu).
                                                                                                                               This article was accepted September 23, 2002.
           Previously lived together,                             3.64**
                separated at time of
                                                                                                                           Contributors
                incident                                                                                                   J. C. Campbell designed the study and wrote most of
          Never lived together                                    0.39**    0.30**    0.36*     0.34**     0.31**          the introductory and Discussion sections. D. Webster
                                                                                                                           analyzed the data, wrote most of the Results section,
                                                                                                          Continued        and contributed to the Methods and Discussion sec-
                                                                                                                           tions. J. Koziol-McLain wrote the Methods section, con-



July 2003, Vol 93, No. 7 | American Journal of Public Health                                                   Campbell et al. | Peer Reviewed | Research and Practice | 1095


                                                                                                                                     Thomas Decl., Ex. 6
              Case 2:19-cv-00434 Document 38-24 Filed 03/15/21 Page 8 of 9 PageID #: 357
                                                                RESEARCH AND PRACTICE 


    TABLE 3—Continued                                                                                                   References
                                                                                                                        1. Greenfield LA, Rand MR, Craven D, et al. Vio-
       Victim left or asked abuser to leave                 3.20**     2.40**       NS                                  lence by Intimates: Analysis of Data on Crimes by Current
                                                                                                                        or Former Spouses, Boyfriends, and Girlfriends. Washing-
       Victim–abuser had biological child                     NS
                                                                                                                        ton, DC: US Dept of Justice; 1998.
       Victim had child by a previous                       2.23**     1.70       1.94*     2.44**     2.35*
                                                                                                                        2. Mercy JA, Saltzman LE. Fatal violence among
            partner in home                                                                                             spouses in the United States: 1976–85. Am J Public
       Abuser–victim age difference                           NS                                                        Health. 1989;79:595–599.
    Abuser control of victim, verbal                                                                                    3. Bailey JE, Kellermann AL, Somes GW, Banton JG,
         aggression                                                                                                     Rivara FP, Rushforth NP. Risk factors for violent death
                                                                                                                        of women in the home. Arch Intern Med. 1997;157:
       Calls names                                                       NS
                                                                                                                        777–782.
       Not high control and separated                                  3.10*      3.36*     3.64*      3.10*
                                                                                                                        4. Bachman R, Saltzman LE. Violence Against
            after living together                                                                                       Women: Estimates From the Redesigned Survey. Washing-
       High control and not separated                                  2.90**     2.09*     2.08*      2.40*            ton, DC: Bureau of Justice Statistics; 1995.
            after living together                                                                                       5. Browne A, Williams KR, Dutton DC. Homicide
       High control and separated after                                8.98***    4.07*     5.52**     3.43*            between intimate partners. In: Smith MD, Zah M, eds.
                                                                                                                        Homicide: A Sourcebook of Social Research. Thousand
            living together                                                                                             Oaks:Sage,1998:149–164.
    Abuser threats and stalking
                                                                                                                        6. Langford L, Isaac NE, Kabat S. Homicides related
       Threatened to harm children                                                   NS                                 to intimate partner violence in Massachusetts. Homicide
       Threatened to harm family                                                     NS                                 Stud. 1998;2:353–377.
       Threatened victim with weapon                                              4.08***   3.38***    4.41*            7. Moracco KE, Runyan CW, Butts J. Femicide in
       Threatened to kill victim                                                  2.60**    3.22**       NS             North Carolina. Homicide Stud. 1998;2:422–446.

       Stalking                                                                      NS                                 8. Frye V, Wilt S, Schomburg D. Female homicide in
                                                                                                                        New York City, 1990–1997. Available at: http://www.
    Physical abuse before worst incident
                                                                                                                        nyc.gov/html/doh/pdf/ip/female97.pdf. Accessed Au-
       Abuse increasing in frequency                                                          NS                        gust 18, 2002.
            and severity                                                                                                9. National Institute of Justice. A Study of Homicide
       Choked (strangled)                                                                     NS                        in Eight US Cities: An NIJ Intramural Research Project.
                                                                                                                        Washington, DC: US Dept of Justice; 1997.
       Forced sex                                                                           1.87         NS
       Abused when pregnant                                                                   NS                        10. Wilt SA, Illman SM, Brodyfield M. Female Homi-
                                                                                                                        cide Victims in New York City. New York, NY: New York
       Previous arrest for domestic                                                         0.34**     0.31*            City Dept of Health; 1995.
            violence
                                                                                                                        11. Campbell JC. “If I can’t have you, no one can”:
    Incident-level risk factors                                                                                         power and control in homicide of female partners. In:
       Abuser used alcohol or drugs                                                                      NS             Radford J, Russell DEH, eds. Femicide: The Politics of
                                                                                                                        Woman Killing. New York, NY: Twayne; 1992:99–113.
       Victim used alcohol or drugs                                                                      NS
       Abuser used gun                                                                                41.38**           12. McFarlane J, Campbell JC, Wilt S, Sachs C, Ulrich
                                                                                                                        Y, Xu X. Stalking and intimate partner femicide. Homi-
       Trigger: jealousy/victim left for                                                               4.91***          cide Stud. 1999;3:300–316.
            other relationship
                                                                                                                        13. Pataki G. Intimate Partner Homicides in New York
       Trigger: victim left abuser for                                                                 4.04***          State. Albany, NY: New York State Governor’s Office;
            other reasons                                                                                               1997.
                                                                                                                        14. Straus MA, Gelles RJ. Physical Violence in Ameri-
    Note. NS = nonsignificant.                                                                                          can Families: Risk Factors and Adaptations to Family Vi-
    *P < .05; **P < .01; ***P < .001.                                                                                   olence in 8,145 Families. New Brunswick, NJ: Transac-
                                                                                                                        tion Publishers; 1990.
                                                                                                                        15. Johnson H, Sacco VF. Researching violence
tributed to the Results section, and prepared the tables.       We would like to thank our advocacy, criminal jus-      against women: Statistics Canada’s national survey. Can
J. Manganello contributed to the data analysis and Re-      tice, and medical examiner collaborators at each of the     J Criminology. 1995;37:281–304.
sults sections. All other authors collected data, con-      sites, along with the women and family members who
tributed to the introductory and Discussion sections,       told their stories. We also thank Arthur Kellerman,         16. Campbell JC. Prediction of homicide of and by
and reviewed the article.                                   MD, for his wise consultation and original ideas. Fi-       battered women. In: Campbell JC, ed. Assessing the Risk
                                                            nally, we thank the staff of the Data Stat Survey Re-       of Dangerousness: Potential for Further Violence of Sexual
                                                            search Firm and Jo Ellen Stinchcomb, Nadiyah John-          Offenders, Batterers, and Child Abusers. Newbury Park,
Acknowledgments                                             son, and the many other assistants and students for all     Calif: Sage Publications; 1995:93–113.
This research was supported by joint funding from the       of their work.                                              17. Campbell JC, Sharps P, Glass NE. Risk assessment
National Institute on Alcohol Abuse and Alcoholism,
                                                                                                                        for intimate partner violence. In: Pinard GF, Pagani L,
the National Institute on Drug Abuse, the National In-
                                                                                                                        eds. Clinical Assessment of Dangerousness: Empirical
stitute of Mental Health, the National Institutes on        Human Participant Protection                                Contributions. New York, NY: Cambridge University
Aging, the Centers for Disease Control and Prevention,      Institutional review board approval was obtained from
                                                                                                                        Press; 2000:136–157.
and the National Institute of Justice (grant R01 # DA/      each study site. Informed consent was obtained by tele-
AA11156).                                                   phone from all participants who were interviewed.           18. Hosmer DW, Lemeshow S. A goodness-of-fit test



1096 | Research and Practice | Peer Reviewed | Campbell et al.                                                   American Journal of Public Health | July 2003, Vol 93, No. 7


                                                                                                                                  Thomas Decl., Ex. 6
              Case 2:19-cv-00434 Document 38-24 Filed 03/15/21 Page 9 of 9 PageID #: 358
                                                                RESEARCH AND PRACTICE 


for the multiple logistic regression model. Commun Stat.    vivors’ predictions. J Interpersonal Violence. 2000;15:
1980;A10:1043–1069.                                         75–90.
19. Hawkins DF. Inequality, culture, and interpersonal      37. Saunders DG, Browne A. Intimate partner homi-
violence. Health Aff (Millwood). 1993;12:80–95.             cide. In: Ammerman RT, Hersen M, eds. Case Studies
                                                            in Family Violence. New York, NY: Kluwer Academic
20. Stets JE. Job autonomy and control over one’s
                                                            Publishers; 2000:415–449.
spouse: a compensatory process. J Health Soc Behav.
1995;35:244–258.                                            38. Chalk R, King P. Violence in families: assessing
                                                            prevention and treatment programs. In: Chalk R, King
21. Fagan J, Stewart DE, Hansen K. Violent men or
                                                            PA, eds. Health Care Interventions. Washington, DC: Na-
violent husbands? Background factors and situational
                                                            tional Academy Press; 1998.
correlates. In: Gelles RJ, Hotaling G, Straus MA, Finkel-
hor D, eds. The Dark Side of Families. Beverly Hills,       39. Gielen AC, O’Campo P, Campbell J, et al. Women’s
Calif: Sage Publications; 1983:49–68.                       opinions about domestic violence screening and manda-
                                                            tory reporting. Am J Prev Med. 2000;19:279–285.
22. Weiner NA, Zahn MA, Sagi RJ. Violence: Patterns,
Causes, Public Policy. New York, NY: Harcourt Brace Jo-     40. Rodriguez MA, McLoughlin E, Nah G, Campbell                 War and Public
vanovich; 1990.
23. Browne A, Williams KR, Dutton DC. Homicide
                                                            JC. Mandatory reporting of domestic violence injuries
                                                            to the police: what do emergency department patients            Health
                                                            think? JAMA. 2001;286:580–583.
between intimate partners. In: Smith MD, Zahn M, eds.                                                                       by Barry S. Levy and
Homicide: A Sourcebook of Social Research. Thousand         41. Wadman MC, Muelleman RL. Domestic violence
Oaks, Calif: Sage Publications; 1998:149–164.               homicides: ED use before victimization. Am J Emerg                Victor W. Sidel
                                                            Med. 1999;17:689–691.
24. Arbuckle J, Olson L, Howard M, Brillman J, Anctil
C, Sklar D. Safe at home? Domestic violence and other                                                                       Updated edition with all-new
homicides among women in New Mexico. Ann Emerg
Med. 1996;27:210–215.
                                                                                                                            epilogue
25. Kellerman AL, Rivara FP, Rushforth NB. Gun
ownership as a risk factor for homicide in the home.
N Engl J Med. 1993;329:1084–1091.
                                                                                                                           I n this softcover edition, contributors
                                                                                                                             demonstrate the devastating effects of
                                                                                                                           war. They discuss nuclear weapons, bio-
26. Gondolf EW. Batterer Intervention Systems: Issues,                                                                     logical and chemical weapons, conven-
Outcomes, and Recommendations. Thousand Oaks, Calif:                                                                       tional arms and services, the United
Sage Publications; 2002.                                                                                                   Nations, and the enormous costs involved
                                                                                                                           in depriving warring nations from focus-
27. Daly M, Wiseman KA, Wilson M. Women and
                                                                                                                           ing on the health and welfare of their citi-
children sired by previous partners incur excess risk of
                                                                                                                           zens.
uxorcide. Homicide Stud. 1997;1:61–71.
                                                                                                                              This book should be on the reading list
28. Brewer VE, Paulsen DJ. A comparison of US and                                                                          of not only health professionals but of all
Canadian findings on uxorcide risk for women with                                                                          those who are interested in international
children sired by previous partners. Homicide Stud.                                                                        studies, diplomacy or the military.
1999;3:317–332.
29. Campbell JC, Miller P, Cardwell MM, Belknap RA.                                                                                    ISBN 0-87553-023-0
Relationship status of battered women over time. J Fam                                                                            2000 ❚ 417 pages ❚ softcover
Violence. 1994;9:99–111.                                                                                                             $17.00 APHA Members
                                                                                                                                      $23.50 Nonmembers
30. Wilson M, Daly M. Spousal homicide risk and es-                                                                                plus shipping and handling
trangement. Violence Vict. 1993;8:3–15.
31. Dawson R, Gartner R. Differences in the charac-
                                                                                                                           American Public Health Association
teristics of intimate femicides: the role of relationship                                                                              Publication Sales
state and relationship status. Homicide Stud. 1998;2:
                                                                                                                                       Web: www.apha.org
                                                                                                                                       E-mail: APHA@TASCO1.com
378–399.                                                                                                                               Tel: (301) 893-1894
32. Campbell JC, Soeken K, McFarlane J, Parker B.                                                                                      FAX: (301) 843-0159    WR01J7
Risk factors for femicide among pregnant and nonpreg-
nant battered women. In: Campbell JC, ed. Empowering
Survivors of Abuse: Health Care for Battered Women and
Their Children. Thousand Oaks, Calif: Sage Publica-
tions; 1998:90–97.
33. Campbell JC, Soeken K. Forced sex and intimate
partner violence: effects on women’s health. Violence
Women. 1999;5:1017–1035.
34. McFarlane J, Soeken K, Campbell JC, Parker B,
Reel S, Silva C. Severity of abuse to pregnant women
and associated gun access of the perpetrator. Public
Health Nurs. In press.
35. Websdale N. Understanding Domestic Homicide.
Boston, Mass: Northeastern University Press; 1999.
36. Weisz A, Tolman R, Saunders DG. Assessing the
risk of severe domestic violence: the importance of sur-



July 2003, Vol 93, No. 7 | American Journal of Public Health                                                 Campbell et al. | Peer Reviewed | Research and Practice | 1097


                                                                                                                                 Thomas Decl., Ex. 6
